                               Case 08-23268-abl                         Doc 16            Entered 12/15/08 17:16:16       Page 1 of 40
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
  In re          JEFFREY JAEGER,                                                                                      Case No.      08-23268
                 AMY JAEGER
                                                                                                                ,
                                                                                               Debtors                Chapter                   13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  182,500.00


B - Personal Property                                             Yes                 4                   23,730.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 2                                         340,705.89


E - Creditors Holding Unsecured                                   Yes                 2                                           5,000.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 5                                         150,891.00
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 2                                                                  5,660.84
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                  5,665.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            21


                                                                                Total Assets             206,230.00


                                                                                                 Total Liabilities              496,596.89




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                               Case 08-23268-abl                         Doc 16     Entered 12/15/08 17:16:16                Page 2 of 40
Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                                District of Nevada
  In re           JEFFREY JAEGER,                                                                                       Case No.   08-23268
                  AMY JAEGER
                                                                                                             ,
                                                                                          Debtors                       Chapter                  13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                     Amount

              Domestic Support Obligations (from Schedule E)                                                         0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                 5,000.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                     0.00

              Student Loan Obligations (from Schedule F)                                                             0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                     0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                     0.00

                                                                                 TOTAL                           5,000.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                          5,660.84

              Average Expenses (from Schedule J, Line 18)                                                        5,665.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                           6,178.16


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                       158,205.89

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                 5,000.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                              0.00

              4. Total from Schedule F                                                                                                 150,891.00

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             309,096.89




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B6A (Official Form 6A) (12/07)


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  In re          JEFFREY JAEGER,                                                                                      Case No.     08-23268
                 AMY JAEGER
                                                                                                          ,
                                                                                            Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                          Husband,    Current Value of
                                                                                  Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                             Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                         Community Deducting  any Secured
                                                                                                                     Claim or Exemption

REAL PROPERTY LOCATED 1000 ROCKAWAY ST.,                                          FEE SIMPLE                  C                  182,500.00               340,705.89
LAS VEGAS, NV 89145
ENC., SURRENDER, 1ST MTG: SAXON MTG SVC,
2ND MTG: IRWIN HOME EQUITY
PURCHASED: 12/5/2002 * 1215 DAYS= 4/2/2006




                                                                                                          Sub-Total >            182,500.00       (Total of this page)

                                                                                                                  Total >        182,500.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                          (Report also on Summary of Schedules)
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                               Case 08-23268-abl                         Doc 16     Entered 12/15/08 17:16:16                  Page 4 of 40
B6B (Official Form 6B) (12/07)


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  In re          JEFFREY JAEGER,                                                                                        Case No.       08-23268
                 AMY JAEGER
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      CHECKING ACCOUNT, FIRST REPUBLIC BANK                             C                        1,000.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          NECESSARY HHG & YARD EQUIPMENT                                    C                        6,500.00
       including audio, video, and                               Location: 1000 ROCKAWAY ST, LAS VEGAS NV
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          WEARING APPAREL                                                   C                        1,000.00
                                                                 Location: 1000 ROCKAWAY ST, LAS VEGAS NV

7.     Furs and jewelry.                                         Wedding Rings                                                     C                        5,000.00
                                                                 Location: 1000 ROCKAWAY ST, LAS VEGAS NV

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >          13,500.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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                               Case 08-23268-abl                         Doc 16     Entered 12/15/08 17:16:16                  Page 5 of 40
B6B (Official Form 6B) (12/07) - Cont.




  In re          JEFFREY JAEGER,                                                                                        Case No.       08-23268
                 AMY JAEGER
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                            DEBTOR IS AWAITING TIP SETTLEMENT                                 H                      Unknown
    claims of every nature, including                            THROUGH HIS EMPLOYER WYNN LAS VEGAS, LLC
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.                         CO-DEBTOR IS PENDING PERSONAL INJURY                              W                      Unknown
    Give estimated value of each.                                SETTLEMENT FOR HEPATITS CLAIM


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                               Case 08-23268-abl                         Doc 16     Entered 12/15/08 17:16:16                  Page 6 of 40
B6B (Official Form 6B) (12/07) - Cont.




  In re          JEFFREY JAEGER,                                                                                        Case No.       08-23268
                 AMY JAEGER
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1998 Chevrolet Tahoe, F&C                                         C                        1,730.00
    other vehicles and accessories.                              Location: 1000 ROCKAWAY ST, LAS VEGAS NV

                                                                 2004 Chevrolet Tahoe, F&C                                         C                        8,500.00
                                                                 Location: 1000 ROCKAWAY ST, LAS VEGAS NV

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          Earned Income Tax Credit                                          C                      Unknown
    not already listed. Itemize.
                                                                 COMPENSATION PAID OR PAYABLE, INCLUDING                           C                      Unknown
                                                                 BUT NOT LIMITED TO, 75% OF INCOME, WAGES,
                                                                 TIPS, SALARY, COMMISSION, OR BONUS.

                                                                                                                                   Sub-Total >          10,230.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                               Case 08-23268-abl                         Doc 16     Entered 12/15/08 17:16:16                  Page 7 of 40
B6B (Official Form 6B) (12/07) - Cont.




  In re          JEFFREY JAEGER,                                                                                        Case No.        08-23268
                 AMY JAEGER
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption
                                                                 MISC. CASH ON HAND OR IN FINANCIAL                                 C                     Unknown
                                                                 INSTITUTION, TAX REFUNDS, OR OTHER "WILD
                                                                 CARD" ITEMS




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         23,730.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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                                Case 08-23268-abl                         Doc 16         Entered 12/15/08 17:16:16              Page 8 of 40
 B6C (Official Form 6C) (12/07)


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   In re          JEFFREY JAEGER,                                                                                          Case No.      08-23268
                  AMY JAEGER
                                                                                                                  ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of            Current Value of
                    Description of Property                                               Each Exemption                       Claimed             Property Without
                                                                                                                              Exemption          Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
CHECKING ACCOUNT, FIRST REPUBLIC BANK             Nev. Rev. Stat. § 21.090(1)(z)                                                      1,000.00                1,000.00

Household Goods and Furnishings
NECESSARY HHG & YARD EQUIPMENT                                                   Nev. Rev. Stat. § 21.090(1)(b)                       6,500.00                6,500.00
Location: 1000 ROCKAWAY ST, LAS VEGAS NV

Wearing Apparel
WEARING APPAREL                                                                  Nev. Rev. Stat. § 21.090(1)(b)                       1,000.00                1,000.00
Location: 1000 ROCKAWAY ST, LAS VEGAS NV

Furs and Jewelry
Wedding Rings                                                                    Nev. Rev. Stat. § 21.090(1)(a)                       5,000.00                5,000.00
Location: 1000 ROCKAWAY ST, LAS VEGAS NV

Other Contingent and Unliquidated Claims of Every Nature
DEBTOR IS AWAITING TIP SETTLEMENT                 Nev. Rev. Stat. § 21.090(1)(g)                                                   Unknown                  Unknown
THROUGH HIS EMPLOYER WYNN LAS VEGAS,
LLC

CO-DEBTOR IS PENDING PERSONAL INJURY                                             Nev. Rev. Stat. § 21.090(1)(u)                    Unknown                  Unknown
SETTLEMENT FOR HEPATITS CLAIM                                                    Nev. Rev. Stat. § 21.090(1)(w)                    Unknown

Automobiles, Trucks, Trailers, and Other Vehicles
1998 Chevrolet Tahoe, F&C                                                        Nev. Rev. Stat. § 21.090(1)(f)                       1,730.00                1,730.00
Location: 1000 ROCKAWAY ST, LAS VEGAS NV

2004 Chevrolet Tahoe, F&C                                                        Nev. Rev. Stat. § 21.090(1)(f)                       8,500.00                8,500.00
Location: 1000 ROCKAWAY ST, LAS VEGAS NV

Other Personal Property of Any Kind Not Already Listed
Earned Income Tax Credit                          Nev. Rev. Stat. § 21.090(1)(aa)                                                  Unknown                  Unknown

COMPENSATION PAID OR PAYABLE,                                                    Nev. Rev. Stat. § 21.090(1)(g)                    Unknown                  Unknown
INCLUDING BUT NOT LIMITED TO, 75% OF
INCOME, WAGES, TIPS, SALARY,
COMMISSION, OR BONUS.

MISC. CASH ON HAND OR IN FINANCIAL                                               Nev. Rev. Stat. § 21.090(1)(z)                       1,000.00              Unknown
INSTITUTION, TAX REFUNDS, OR OTHER
"WILD CARD" ITEMS




                                                                                                                  Total:           24,730.00                 23,730.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                               Case 08-23268-abl                         Doc 16            Entered 12/15/08 17:16:16                    Page 9 of 40
 B6D (Official Form 6D) (12/07)


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  In re          JEFFREY JAEGER,                                                                                               Case No.      08-23268
                 AMY JAEGER
                                                                                                                  ,
                                                                                                    Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
             CREDITOR'S NAME                                   O                                                           O    N   I
                                                               D   H            DATE CLAIM WAS INCURRED,                   N    L   S        CLAIM
          AND MAILING ADDRESS                                  E                                                           T    I   P       WITHOUT          UNSECURED
           INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                      I    Q   U                        PORTION, IF
                                                               T   J             DESCRIPTION AND VALUE                     N    U   T
                                                                                                                                           DEDUCTING
          AND ACCOUNT NUMBER                                   O                                                           G    I   E       VALUE OF            ANY
            (See instructions above.)
                                                                   C                  OF PROPERTY
                                                               R
                                                                                     SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No. xxx-xx-xx2-060                                           2008                                                       E
                                                                     PROPERTY TAX - 2008                                        D
Creditor #: 1                                                        REAL PROPERTY LOCATED 1000
CLARK COUNTY TREASURER                                               ROCKAWAY ST., LAS VEGAS, NV 89145
PO BOX 551220                                                        ENC., SURRENDER, 1ST MTG: SAXON
                                                                     MTG SVC, 2ND MTG: IRWIN HOME
LAS VEGAS, NV 89155-1220
                                                                   C EQUITY
                                                                     PURCHASED: 12/5/2002 * 1215

                                                                        Value $                           182,500.00                            609.89                 609.89
Account No. xxx3594                                                  2005
                                                                     2ND MORTGAGE
Creditor #: 2                                                        REAL PROPERTY LOCATED 1000
IRWIN HOME EQUITY                                                    ROCKAWAY ST., LAS VEGAS, NV 89145
ATTN. BANKRUPTCY DEPT                                                ENC., SURRENDER, 1ST MTG: SAXON
                                                                     MTG SVC, 2ND MTG: IRWIN HOME
500 WASHINGTON STREET
                                                                   C EQUITY
COLUMBUS, IN 47201                                                   PURCHASED: 12/5/2002 * 1215

                                                                        Value $                           182,500.00                        142,000.00           142,000.00
Account No. xxxxxx1081                                               12/2003
                                                                     1ST MORTGAGE
Creditor #: 3                                                        REAL PROPERTY LOCATED 1000
SAXON MORTGAGE SERVICES                                              ROCKAWAY ST., LAS VEGAS, NV 89145
P.O. BOX 161489                                                      ENC., SURRENDER, 1ST MTG: SAXON
                                                                     MTG SVC, 2ND MTG: IRWIN HOME
FORT WORTH, TX 76161
                                                                   C EQUITY
                                                                     PURCHASED: 12/5/2002 * 1215

                                                                        Value $                           182,500.00                        198,096.00             15,596.00
Account No.
                                                                        QUALITY LOAN SERVICE CORP
Representing:                                                           TS# NV-08-182815-TD
SAXON MORTGAGE SERVICES                                                 2141 5TH AVE
                                                                        SAN DIEGO, CA 92101


                                                                        Value $
                                                                                                                        Subtotal
 1
_____ continuation sheets attached                                                                                                          340,705.89           158,205.89
                                                                                                               (Total of this page)




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                             Case 08-23268-abl                          Doc 16           Entered 12/15/08 17:16:16                       Page 10 of 40
 B6D (Official Form 6D) (12/07) - Cont.




  In re          JEFFREY JAEGER,                                                                                                Case No.      08-23268
                 AMY JAEGER
                                                                                                                   ,
                                                                                                    Debtors

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        (Continuation Sheet)

                                                               C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
            CREDITOR'S NAME                                    O                                                            O    N   I
                                                               D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT         UNSECURED
                                                                   W              NATURE OF LIEN, AND                                                        PORTION, IF
           INCLUDING ZIP CODE,                                 B
                                                                                 DESCRIPTION AND VALUE
                                                                                                                            I    Q   U
                                                                                                                                            DEDUCTING
                                                               T   J                                                        N    U   T                          ANY
          AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                           G    I   E       VALUE OF
             (See instructions.)                               R
                                                                                     SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                                                                                      E
                                                                        SAXON MORTGAGE                                           D

Representing:                                                           1270 NORTHLAND DR STE 200
SAXON MORTGAGE SERVICES                                                 MENDOTA HEIGHTS, MN 55120



                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                                    Subtotal
                                                                                                                                                    0.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                    (Total of this page)
                                                                                                                            Total             340,705.89         158,205.89
                                                                                                  (Report on Summary of Schedules)

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                             Case 08-23268-abl                          Doc 16      Entered 12/15/08 17:16:16                    Page 11 of 40
B6E (Official Form 6E) (12/07)


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  In re          JEFFREY JAEGER,                                                                                          Case No.         08-23268
                 AMY JAEGER
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
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                             Case 08-23268-abl                          Doc 16           Entered 12/15/08 17:16:16                       Page 12 of 40
 B6E (Official Form 6E) (12/07) - Cont.




  In re          JEFFREY JAEGER,                                                                                                Case No.      08-23268
                 AMY JAEGER
                                                                                                                   ,
                                                                                                    Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)
                                                                                                                            Taxes and Certain Other Debts
                                                                                                                             Owed to Governmental Units
                                                                                                                                         TYPE OF PRIORITY
                                                               C   Husband, Wife, Joint, or Community                       C    U   D
            CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                               D                                                            N    L   S                      ENTITLED TO
          AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
           INCLUDING ZIP CODE,                                 B   W
                                                                            AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                            OF CLAIM
          AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                               O                                                            G    I   E                             ENTITLED TO
             (See instructions.)                               R   C                                                        E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
 Account No. xxx-xx-4148                                               2008                                                      E
                                                                                                                                 D
Creditor #: 1
INTERNAL REVENUE SERVICE                                               ESTIMATED TAX
MASSACHUSETTS DEPT OF                                                                                                                                       0.00
REVENUE
BANKRUPTCY UNIT                                                    C
PO BOX 9564
BOSTON, MA 02114-9564                                                                                                                           5,000.00              5,000.00
Account No.




Account No.




Account No.




Account No.




       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)            5,000.00             5,000.00
                                                                                                                            Total                           0.00
                                                                                                  (Report on Summary of Schedules)              5,000.00             5,000.00

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                              Case 08-23268-abl                          Doc 16               Entered 12/15/08 17:16:16            Page 13 of 40
 B6F (Official Form 6F) (12/07)


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   In re          JEFFREY JAEGER,                                                                                             Case No.     08-23268
                  AMY JAEGER
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. xxxxxxxxxxx1001                                                              2008                                                T   T
                                                                                                                                                 E
Creditor #: 1                                                                            CREDIT CARD                                             D

AMEX BLUE
PO BOX 0001                                                                          C
LOS ANGELES, CA 90096-0001

                                                                                                                                                                           200.00
Account No. xxxxxxxxxxx1009                                                              2008
Creditor #: 2                                                                            CREDIT CARD
AMEX GREEN
BOX 0001                                                                             C
LOS ANGELES, CA 90096-0001

                                                                                                                                                                           900.00
Account No. xxxxxxxxxxxx9583                                                             2006
Creditor #: 3                                                                            LAWSUIT PENDING/CREDIT CARD
ATT UNIVERSAL CARD
PO BOX 6404                                                                          C
THE LAKES, NV 88901-6404

                                                                                                                                                                       22,600.00
Account No.                                                                              JEFFREY G. SLOANE, ESQ.
                                                                                         REF. DISTRICT COURT A542810
Representing:                                                                            1389 GALLERIA DR STE 200
                                                                                         HENDERSON, NV 89014
ATT UNIVERSAL CARD




                                                                                                                                           Subtotal
 4
_____ continuation sheets attached                                                                                                                                     23,700.00
                                                                                                                                 (Total of this page)




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                              Case 08-23268-abl                          Doc 16               Entered 12/15/08 17:16:16            Page 14 of 40
 B6F (Official Form 6F) (12/07) - Cont.




   In re          JEFFREY JAEGER,                                                                                             Case No.     08-23268
                  AMY JAEGER
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxx1963                                                             2006                                                    E
Creditor #: 4                                                                            LAWSUIT (JUSTICE COURT                                  D

CAPITAL ONE                                                                              07C-047067)/CREDIT CARD
PO BOX 60024                                                                         C
CITY OF INDUSTRY, CA 91716-0024

                                                                                                                                                                      9,000.00
Account No.                                                                              Patenaude & Felix, A.P.C.
                                                                                         Ref. 07-16337
Representing:
                                                                                         1771 E Flamingo Rd. #112A
CAPITAL ONE                                                                              Las Vegas, NV 89119




Account No. xxxxxxxxxxxx8112                                                             2006
Creditor #: 5                                                                            CREDIT CARD
CAPITAL ONE
PO BOX 60024                                                                         C
CITY OF INDUSTRY, CA 91716-0024

                                                                                                                                                                      2,000.00
Account No. xxxxxxxxxxxx9133                                                             2008
Creditor #: 6                                                                            CREDIT CARD
CHASE
PO BOX 94014                                                                         C
PALATINE, IL 60094-4014

                                                                                                                                                                      2,041.00
Account No. xxxxxxxxxxxxx4102                                                            2008
Creditor #: 7                                                                            CREDIT CARD
CHASE AMAZON
PO BOX 94014                                                                         C
PALATINE, IL 60094-4014

                                                                                                                                                                    10,000.00

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                              Case 08-23268-abl                          Doc 16               Entered 12/15/08 17:16:16            Page 15 of 40
 B6F (Official Form 6F) (12/07) - Cont.




   In re          JEFFREY JAEGER,                                                                                             Case No.     08-23268
                  AMY JAEGER
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxxx5788                                                            2008                                                    E
Creditor #: 8                                                                            CREDIT CARD                                             D

CHASE CONTINENTAL
PO BOX 94014                                                                         C
PALATINE, IL 60094-4014

                                                                                                                                                                    17,400.00
Account No. xxxxxxxxxxxx3394                                                             2008
Creditor #: 9                                                                            CREDIT CARD
CHASE DISNEY
PO BOX 94014                                                                         C
PALATINE, IL 60094-4014

                                                                                                                                                                      6,600.00
Account No. xxxxxxxxxxxx8113                                                             2006
Creditor #: 10                                                                           LAWSUIT PENDING/CREDIT CARD
CITI CARD
PO BOX 6415                                                                          C
THE LAKES, NV 88901-6415

                                                                                                                                                                    23,000.00
Account No.                                                                              JEFFREY G. SLOANE, ESQ.
                                                                                         REF. DISTRICT COURT A542812
Representing:                                                                            1389 GALLERIA DR STE 200
CITI CARD                                                                                HENDERSON, NV 89014




Account No. xxxxxxxxxxxx9384                                                             2006
Creditor #: 11                                                                           CREDIT CARD
DIRECT MERCHANT'S BANK
PO BOX 17313                                                                         C
BALTIMORE, MD 21297-1313

                                                                                                                                                                      9,000.00

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
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Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                              Case 08-23268-abl                          Doc 16               Entered 12/15/08 17:16:16            Page 16 of 40
 B6F (Official Form 6F) (12/07) - Cont.




   In re          JEFFREY JAEGER,                                                                                             Case No.     08-23268
                  AMY JAEGER
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxx1543                                                             2008                                                    E
Creditor #: 12                                                                           CREDIT CARD                                             D

HSBC
PO BOX 60139                                                                         C
CITY OF INDUSTYR, CA 91716-0139

                                                                                                                                                                      3,000.00
Account No.                                                                              CREDIT CARD
Creditor #: 13
KOHL'S
ATTN. BANKRUPTCY DEPT                                                                C
PO BOX 3043
MILWAUKEE, WI 53201-3043
                                                                                                                                                                      1,150.00
Account No. xxxxxxxxxxxx3139                                                             2008
Creditor #: 14                                                                           CREDIT CARD
NFCU VISA
NEVADA FEDERAL CREDIT UNION                                                          C
PO BOX 60097
CITY OF INDUSTRY, CA 91716
                                                                                                                                                                    10,000.00
Account No. xxxxxxxxxxxx6229                                                             2006
Creditor #: 15                                                                           CREDIT CARD
NFCU VISA
NEVADA FEDERAL CREDIT UNION                                                          C
PO BOX 60097
CITY OF INDUSTRY, CA 91716-0097
                                                                                                                                                                    12,000.00
Account No. xxxxxxxxxxxx9551                                                             2008
Creditor #: 16                                                                           CREDIT CARD
PAYPAL PLUS
PO BOX 960080                                                                        C
ORLANDO, FL 32896-0080

                                                                                                                                                                      6,000.00

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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    32,150.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                              Case 08-23268-abl                          Doc 16               Entered 12/15/08 17:16:16                   Page 17 of 40
 B6F (Official Form 6F) (12/07) - Cont.




   In re          JEFFREY JAEGER,                                                                                                   Case No.      08-23268
                  AMY JAEGER
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxxxxxxxxx1052                                                             2006                                                           E
Creditor #: 17                                                                           CREDIT CARD                                                    D

THE HOME DEPOT / CITI
PO BOX 689100                                                                        C
DES MOINES, IA 50368-9100

                                                                                                                                                                           16,000.00
Account No.




Account No.




Account No.




Account No.




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Sheet no. _____     4
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                           16,000.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
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                             Case 08-23268-abl                          Doc 16   Entered 12/15/08 17:16:16             Page 18 of 40
B6G (Official Form 6G) (12/07)


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  In re             JEFFREY JAEGER,                                                                              Case No.       08-23268
                    AMY JAEGER
                                                                                                      ,
                                                                                      Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                       Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                            State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                  State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          JEFFREY JAEGER,                                                                         Case No.       08-23268
                 AMY JAEGER
                                                                                                 ,
                                                                                      Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR




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               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          JEFFREY JAEGER
 In re    AMY JAEGER                                                                                    Case No.     08-23268
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                SON #1                                                      -
                                             SON #2                                                      -
Employment:                                           DEBTOR                                                 SPOUSE
Occupation                          CASINO DEALER                                            BARTENDER
Name of Employer                    WYNN LAS VEGAS                                           FAVORITES BAR
How long employed                   3.5 YEARS                                                3 MONTHS
Address of Employer                 3131 S LAS VEGAS BLVD                                    MARYLAND PKWY
                                    LAS VEGAS, NV 89107                                      LAS VEGAS, NV 89109
INCOME: (Estimate of average or projected monthly income at time case filed)                             DEBTOR                           SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                        $      5,954.39              $          447.00
2. Estimate monthly overtime                                                                         $          0.00              $            0.00

3. SUBTOTAL                                                                                              $         5,954.39       $          447.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $          447.33        $             0.00
     b. Insurance                                                                                        $          112.67        $             0.00
     c. Union dues                                                                                       $            0.00        $             0.00
     d. Other (Specify)        See Detailed Income Attachment                                            $          180.55        $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $          740.55        $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         5,213.84       $          447.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         5,213.84       $          447.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              5,660.84
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6I (Official Form 6I) (12/07)

          JEFFREY JAEGER
 In re    AMY JAEGER                                                          Case No.    08-23268
                                                      Debtor(s)

                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                          Detailed Income Attachment
Other Payroll Deductions:
METLIFE VI                                                                $               18.79      $   0.00
UNITED WAY                                                                $               21.67      $   0.00
ADD LIFE                                                                  $               32.39      $   0.00
DEP LIFE                                                                  $                1.02      $   0.00
SP/DP LIFE                                                                $                8.10      $   0.00
LTD                                                                       $               29.16      $   0.00
VSTD70                                                                    $               69.42      $   0.00
Total Other Payroll Deductions                                            $              180.55      $   0.00
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B6J (Official Form 6J) (12/07)

          JEFFREY JAEGER
 In re    AMY JAEGER                                                                          Case No.    08-23268
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,800.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   300.00
                   b. Water and sewer                                                                       $                    10.00
                   c. Telephone                                                                             $                     0.00
                   d. Other See Detailed Expense Attachment                                                 $                   395.00
3. Home maintenance (repairs and upkeep)                                                                    $                    45.00
4. Food                                                                                                     $                   800.00
5. Clothing                                                                                                 $                    75.00
6. Laundry and dry cleaning                                                                                 $                     0.00
7. Medical and dental expenses                                                                              $                    95.00
8. Transportation (not including car payments)                                                              $                   360.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   165.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                     0.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   150.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other See Detailed Expense Attachment                                                                   $                 1,470.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,665.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      Debtor's mortgage in arrears and debtor intends to surrender home through bankruptcy.
      Debtor will incur rental payments once home is surrendered and they are required to
      relocate.
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 5,660.84
b. Average monthly expenses from Line 18 above                                                              $                 5,665.00
c. Monthly net income (a. minus b.)                                                                         $                    -4.16
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B6J (Official Form 6J) (12/07)
          JEFFREY JAEGER
 In re    AMY JAEGER                                                         Case No.   08-23268
                                                      Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                          Detailed Expense Attachment
Other Utility Expenditures:
CABLE/PHONE/INTERNET                                                                    $           225.00
TRASH                                                                                   $            20.00
CELL PHONE                                                                              $           150.00
Total Other Utility Expenditures                                                        $           395.00




Other Expenditures:
PERSONAL CARE                                                                           $            125.00
MISC. GIFTS & CONTINGENCIES                                                             $             50.00
EXTRA-CURRICULAR ACTIVITIES - KIDS                                                      $            125.00
CIGARETTE EXPENSES                                                                      $             80.00
CHILD CARE                                                                              $          1,090.00
Total Other Expenditures                                                                $          1,470.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             JEFFREY JAEGER
 In re       AMY JAEGER                                                                                           Case No.   08-23268
                                                                                             Debtor(s)            Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                23       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date December 11, 2008                                                         Signature    /s/ JEFFREY JAEGER
                                                                                             JEFFREY JAEGER
                                                                                             Debtor


 Date December 11, 2008                                                         Signature    /s/ AMY JAEGER
                                                                                             AMY JAEGER
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             JEFFREY JAEGER
 In re       AMY JAEGER                                                                                        Case No.       08-23268
                                                                                             Debtor(s)         Chapter        13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $59,543.90                               2008 YTD DEBTOR WAGES
                           $82,448.00                               2007 DEBTOR WAGES
                           $81,718.00                               2006 DEBTOR WAGES
                           $2,400.00                                2008 YTD CO-DEBTOR WAGES
                           $2,000.00                                2007 CO-DEBTOR WAGES




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                                                                                                                                                            2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                    AMOUNT PAID              OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT
                                                                                   DATES OF                           PAID OR
                                                                                   PAYMENTS/                        VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                       TRANSFERS            OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT             AMOUNT PAID              OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION            DISPOSITION
 CITIBANK SOUTH DAKOTA                           CIVIL COLLECTIONS                           DISTRICT COURT          PENDING
 VS                                                                                          CLARK COUNTY
 JEFFREY A. JAEGER                                                                           STATE OF NEVADA

 CASE NUMBER 07-A-
 542810-C
 DEPT NUMBER 8




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 CAPTION OF SUIT                                                                             COURT OR AGENCY              STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION                 DISPOSITION
 CITIBANK SOUTH DAKOTA                           CIVIL COLLECTIONS                           DISTRICT COURT               PENDING
 VS                                                                                          CLARK COUNTY
 JEFFREY A. JAEGER                                                                           STATE OF NEVADA

 CASE NUMBER 07-A-
 542812-C
 DEPT NUMBER 16
 Capital One                                     Civil Collections                           Las Vegas Justice Court       Pending
 vs                                                                                          Clark County, State of Nevada
 Jeffrey Jaeger

 Case Number 07C-047067

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                   DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                    PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                        TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                           DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                     ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                          DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                        DATE OF GIFT       VALUE OF GIFT




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                                                                                                                                                                4

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                             OF PROPERTY
 Law Offices of Barry Levinson                                                    11/2008 $2,000.00                     $3,000.00 - ($2,726.00 Legal
 2810 S. Rainbow Blvd.                                                            12/2008 $1,000.00                     Fees and $274.00 Filing Fee)
 Las Vegas, NV 89146

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,             AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                   OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                       DESCRIPTION            DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                       OF CONTENTS             SURRENDER, IF ANY


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                                                                                                                                                             5

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                       AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                      DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                 LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                      DATE OF                ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                        NOTICE                 LAW




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                                                                                                                                                               6
    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                     NATURE OF BUSINESS          ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                              DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                            ADDRESS




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                                                                                                                                                                7
    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                                                                                                                                             8

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                                                                                                                                                      9

                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date December 11, 2008                                                         Signature    /s/ JEFFREY JAEGER
                                                                                             JEFFREY JAEGER
                                                                                             Debtor


 Date December 11, 2008                                                         Signature    /s/ AMY JAEGER
                                                                                             AMY JAEGER
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                                    District of Nevada
             JEFFREY JAEGER
 In re       AMY JAEGER                                                                                       Case No.   08-23268
                                                                                             Debtor(s)        Chapter    13




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      December 11, 2008                                                   /s/ JEFFREY JAEGER
                                                                                JEFFREY JAEGER
                                                                                Signature of Debtor

 Date:      December 11, 2008                                                   /s/ AMY JAEGER
                                                                                AMY JAEGER
                                                                                Signature of Debtor




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                   JEFFREY JAEGER
                   AMY JAEGER
                   1000 ROCKAWAY ST
                   LAS VEGAS, NV 89145

                   BARRY LEVINSON, ESQ.
                   Law Offices of Barry Levinson
                   2810 S. Rainbow Blvd.
                   Las Vegas, NV 89146

                   AMEX BLUE
                   Acct No xxxxxxxxxxx1001
                   PO BOX 0001
                   LOS ANGELES, CA 90096-0001

                   AMEX GREEN
                   Acct No xxxxxxxxxxx1009
                   BOX 0001
                   LOS ANGELES, CA 90096-0001

                   ATT UNIVERSAL CARD
                   Acct No xxxxxxxxxxxx9583
                   PO BOX 6404
                   THE LAKES, NV 88901-6404

                   CAPITAL ONE
                   Acct No xxxxxxxxxxxx1963
                   PO BOX 60024
                   CITY OF INDUSTRY, CA 91716-0024

                   CAPITAL ONE
                   Acct No xxxxxxxxxxxx8112
                   PO BOX 60024
                   CITY OF INDUSTRY, CA 91716-0024

                   CHASE
                   Acct No xxxxxxxxxxxx9133
                   PO BOX 94014
                   PALATINE, IL 60094-4014

                   CHASE AMAZON
                   Acct No xxxxxxxxxxxxx4102
                   PO BOX 94014
                   PALATINE, IL 60094-4014

                   CHASE CONTINENTAL
                   Acct No xxxxxxxxxxxxx5788
                   PO BOX 94014
                   PALATINE, IL 60094-4014
                   CHASE DISNEY
                   Acct No xxxxxxxxxxxx3394
                   PO BOX 94014
                   PALATINE, IL 60094-4014
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               CITI CARD
               Acct No xxxxxxxxxxxx8113
               PO BOX 6415
               THE LAKES, NV 88901-6415

               CLARK COUNTY TREASURER
               Acct No xxx-xx-xx2-060
               PO BOX 551220
               LAS VEGAS, NV 89155-1220

               DIRECT MERCHANT'S BANK
               Acct No xxxxxxxxxxxx9384
               PO BOX 17313
               BALTIMORE, MD 21297-1313

               HSBC
               Acct No xxxxxxxxxxxx1543
               PO BOX 60139
               CITY OF INDUSTYR, CA 91716-0139

               INTERNAL REVENUE SERVICE
               Acct No xxx-xx-4148
               MASSACHUSETTS DEPT OF REVENUE
               BANKRUPTCY UNIT
               PO BOX 9564
               BOSTON, MA 02114-9564

               IRWIN HOME EQUITY
               Acct No xxx3594
               ATTN. BANKRUPTCY DEPT
               500 WASHINGTON STREET
               COLUMBUS, IN 47201

               JEFFREY G. SLOANE, ESQ.
               REF. DISTRICT COURT A542810
               1389 GALLERIA DR STE 200
               HENDERSON, NV 89014

               JEFFREY G. SLOANE, ESQ.
               REF. DISTRICT COURT A542812
               1389 GALLERIA DR STE 200
               HENDERSON, NV 89014

               KOHL'S
               ATTN. BANKRUPTCY DEPT
               PO BOX 3043
               MILWAUKEE, WI 53201-3043

               NFCU VISA
               Acct No xxxxxxxxxxxx3139
               NEVADA FEDERAL CREDIT UNION
               PO BOX 60097
               CITY OF INDUSTRY, CA 91716
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               NFCU VISA
               Acct No xxxxxxxxxxxx6229
               NEVADA FEDERAL CREDIT UNION
               PO BOX 60097
               CITY OF INDUSTRY, CA 91716-0097

               Patenaude & Felix, A.P.C.
               Ref. 07-16337
               1771 E Flamingo Rd. #112A
               Las Vegas, NV 89119

               PAYPAL PLUS
               Acct No xxxxxxxxxxxx9551
               PO BOX 960080
               ORLANDO, FL 32896-0080

               QUALITY LOAN SERVICE CORP
               TS# NV-08-182815-TD
               2141 5TH AVE
               SAN DIEGO, CA 92101

               SAXON MORTGAGE
               1270 NORTHLAND DR STE 200
               MENDOTA HEIGHTS, MN 55120

               SAXON MORTGAGE SERVICES
               Acct No xxxxxx1081
               P.O. BOX 161489
               FORT WORTH, TX 76161

               THE HOME DEPOT / CITI
               Acct No xxxxxxxxxxxx1052
               PO BOX 689100
               DES MOINES, IA 50368-9100
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B 201 (04/09/06)

                                                          UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF NEVADA

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 BARRY LEVINSON, ESQ. 006721                                                                 X /s/ BARRY LEVINSON, ESQ.             December 11, 2008
Printed Name of Attorney                                                                       Signature of Attorney                Date
Address:
2810 S. Rainbow Blvd.
Las Vegas, NV 89146
702-836-9696
cizon@lawbybarry.com

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 JEFFREY JAEGER
 AMY JAEGER                                                                                  X /s/ JEFFREY JAEGER                   December 11, 2008
 Printed Name of Debtor                                                                        Signature of Debtor                  Date

 Case No. (if known) 08-23268                                                                X /s/ AMY JAEGER                       December 11, 2008
                                                                                               Signature of Joint Debtor (if any)   Date




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                                                                 United States Bankruptcy Court
                                                                                  District of Nevada
             JEFFREY JAEGER
 In re       AMY JAEGER                                                                                              Case No.   08-23268
                                                                                            Debtor(s)                Chapter    13


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                        $               3,000.00
              Prior to the filing of this statement I have received                                              $               3,000.00
              Balance Due                                                                                        $                   0.00

2.     $    274.00         of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       December 11, 2008                                                             /s/ BARRY LEVINSON, ESQ.
                                                                                            BARRY LEVINSON, ESQ. 006721
                                                                                            Law Offices of Barry Levinson
                                                                                            2810 S. Rainbow Blvd.
                                                                                            Las Vegas, NV 89146
                                                                                            702-836-9696 Fax: 702-836-9699
                                                                                            cizon@lawbybarry.com




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